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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


CLIMATE UNITED FUND
7550 Wisconsin Avenue 8th Floor
Bethesda, Maryland 20814
                                                        ECF CASE
                             Plaintiff,
                                                        No. 1:25-cv-00698
       v.

CITIBANK, N.A.,
5800 South Corporate Place
Sioux Falls, South Dakota 57108,

        and

UNITED STATES ENVIRONMENTAL
PROTECTION AGENCY
1200 Pennsylvania Avenue, N.W.
Washington, D.C. 20460,

        and

LEE ZELDIN, in his official capacity as
ADMINISTRATOR, UNITED STATES
ENVIRONMENTAL PROTECTION
AGENCY
1200 Pennsylvania Avenue, N.W.
Washington, D.C. 20460

                             Defendants.


                                             NOTICE

       Plaintiff Climate United Fund writes to notify the Court regarding developments since the

hearing on March 12, 2025.

       At the hearing on Wednesday, March 12, 2025, counsel stated that Climate United would

furlough employees if a temporary restraining order was not entered by Friday, March 14. In the

evening of March 14, Climate United notified staff who would be affected by a furlough that would
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take effect as of 9 AM on Monday, March 17, unless the Court entered a temporary restraining

order or Climate United was able to secure additional philanthropic support for operations.

        Over the weekend Climate United was notified that a source that Climate United had been

in discussions with since its funds were frozen may be willing to provide emergency charitable

recoverable grants to support operations while NCIF funds are unavailable. Climate United would

be required to pay back this recoverable grant if Climate United’s access to NCIF grant funding

were restored.

        Although the recoverable grant funding is not yet in hand, Climate United has temporarily

postponed the furlough it announced on March 14, in the hope that such funding will be obtained

in the near future.

        Climate United has searched, and continues to search, for emergency financial assistance

to remain in business long enough to litigate this matter. Despite receiving the emergency

charitable grant, Climate United has already been compelled to defer compensation for certain

employees, slash staff salaries, terminate multiple vendors, cancel travel, and instruct non-essential

lawyers, accountants, and consultants to cease work.



Dated: March 17, 2025                                 Respectfully submitted:

                                                      /s/ Adam G. Unikowsky

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                                   * Application to Court pending.

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